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6
                                         UNITED STATES DISTRICT COURT
7
                                    CENTRAL DISTRICT OF CALIFORNIA
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      JASON CHAMELY, individually and on            )    Case No. ED CV 20-1483 FMO (SHKx)
10    behalf of all others similarly situated,      )
                                                    )
11                          Plaintiff,              )    ORDER DISMISSING ACTION
                                                    )
12                  v.                              )
                                                    )
13    PARAMOUNT RESIDENTIAL                         )
      MORTGAGE GROUP, INC.,                         )
14                                                  )
                            Defendant.              )
15                                                  )
                                                    )
16
             The complaint in the above-captioned case contains individual and class allegations.
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      Plaintiff has filed a Notice of Settlement notifying the court that plaintiff has settled his claims with
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      defendant. (See Dkt. 26, Notice of Settlement). Plaintiff has clarified that the settlement is only
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      as to plaintiff’s individual claims and plaintiff seeks to dismiss without prejudice the class claims.
20
      (See Dkt. 29, Notice of Status of Class Allegations and Motion to Dismiss Plaintiff’s Individual and
21
      Class Claims at 2).
22
             Having reviewed the case file and determined that no prejudice to the putative class will
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      result from the dismissal, IT IS ORDERED that the above-captioned action is hereby dismissed
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      with prejudice as to plaintiff’s individual claims and without prejudice as to the class claims.
25
      Dated this 11th day of January, 2021.                                   /s/
26                                                                     Fernando M. Olguin
                                                                  United States District Judge
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